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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

DINE CITIZENS AGAINST RUINING
OUR ENVIRONMENT, et al.,

Plaintiffs,
Case No. 1:20-cv-00673-KG-JHR

Vv.

U.S. BUREAU OF LAND MANAGEMENT,
et al.,

Federal Defendants.

 

 

ORDER GRANTING JOINT MOTION TO STAY PROCEEDINGS BY 14 DAYS AND
VACATE BRIEFING DEADLINES AND HEARING

This matter comes before the Court on Plaintiffs’, Federal Defendants’, and Defendant-
Intervenor’s Joint Motion to Stay Proceedings by 14 Days and Vacate Briefing Deadlines and
Hearing. The Court, having reviewed the Motion, finds it well-taken and hereby GRANTS the
Motion.

IT IS HEREBY ORDERED that all proceedings in this case are STAYED for 14 days
from the date of this Order. All current briefing deadlines and the hearing scheduled for January
28, 2022 are VACATED. On or before February 9, 2022, the Parties shall file a joint status
report notifying the Court of the status of the Parties’ efforts to resolve the issues raised in
Plaintiffs’ preliminary injunction motion (ECF No. 52) and Federal Defendants’ voluntary
remand motion (ECF No. 47) and proposing a schedule for future proceedings in this case.

IT IS SO ORDERED.

 

UNITED STATES BISTRI@? JUDGE
